       Case 4:21-cv-00178-WMR Document 1-1 Filed 09/15/21 Page 1 of 18

                                                                                                    Service of Process
                                                                                                    Transmittal
                                                                                                    08/17/2021
                                                                                                    CT Log Number 540089392
TO:         Laura Aznavoorian, Litigation Supervisor
            Gallagher Bassett Services, Inc.
            1901 S. Meyers Rd, Suite 200C
            Oakbrook Terrace, IL 60181

RE:         Process Served in Georgia

FOR:        Costco Wholesale Corporation (Domestic State: WA)




ENCLOSED ARE COPIES OF LEGAL PROCESS RECEIVED BY THE STATUTORY AGENT OF THE ABOVE COMPANY AS FOLLOWS:

TITLE OF ACTION:                                  SHANA MORRIS, Pltf. vs. COSTCO WHOLESALE CORPORATION AND COSTCO
                                                  WHOLESALE, Dfts.
DOCUMENT(S) SERVED:                               --
COURT/AGENCY:                                     None Specified
                                                  Case # SUCV2021000711
NATURE OF ACTION:                                 Personal Injury - Failure to Maintain Premises in a Safe Condition
ON WHOM PROCESS WAS SERVED:                       C T Corporation System, Lawrenceville, GA
DATE AND HOUR OF SERVICE:                         By Process Server on 08/17/2021 at 12:14
JURISDICTION SERVED :                             Georgia
APPEARANCE OR ANSWER DUE:                         None Specified
ATTORNEY(S) / SENDER(S):                          None Specified
ACTION ITEMS:                                     CT has retained the current log, Retain Date: 08/17/2021, Expected Purge Date:
                                                  09/01/2021

                                                  Image SOP

                                                  Email Notification, Laura Aznavoorian laura_aznavoorian@gbtpa.com

                                                  Email Notification, Zois Johnston zjohnston@costco.com

                                                  Email Notification, Maureen Papier maureen_papier@gbtpa.com

REGISTERED AGENT ADDRESS:                         C T Corporation System
                                                  289 S. Culver St.
                                                  Lawrenceville, GA 30046
                                                  866-665-5799
                                                  SouthTeam2@wolterskluwer.com
The information contained in this Transmittal is provided by CT for quick reference only. It does not constitute a legal opinion, and should not otherwise be
relied on, as to the nature of action, the amount of damages, the answer date, or any other information contained in the included documents. The recipient(s)
of this form is responsible for reviewing and interpreting the included documents and taking appropriate action, including consulting with its legal and other
advisors as necessary. CT disclaims all liability for the information contained in this form, including for any omissions or inaccuracies that may be contained
therein.




                                                                                                    Page 1 of 1 / KD
                   Case 4:21-cv-00178-WMR Document 1-1 Filed 09/15/21 Page 2 of 18
        SHERIFF'S ENTRY OF SERVICE                                                                                       —70 43

                                                                         Superior Court       M      Magistrate Court          0
        Civil Action No.       SUCV2021000711                            State Court          0      Probate Court             0
                                                                         Juvenile Court       0
        Date Filed             08/09/21 03:21 PM
                                                                         Georgia,         CATOOSA              COUNTY

        Attorney's Address     Warren, Mark                               Morris, Shana
                               Warren & Griffin, P.C.
                               736 Georgia Avenue, Suite 100
                               Chattanooga, TENNESSEE 37402-                                                             Plaintiff

                                                                                                       VS.
                                                                          Costco Wholesale Corporation; Costco Wholesale, DBA do
        Name and Address of Party to be Served.
        Costco Wholesale Corporation                                      Manager
                                                                                                                        Defendant
        289 S. Culver Street

        Lawrenceville, GEORGIA 30046
                                                                                                                        Garnishee

                                                      SHERIFF'S ENTRY OF SERVICE


 0
 Cr) DI   have this day served the defendant                                                                 personally with a copy
 a. of the within action and summons.
 LLI



                                                                                                             r1
.c,S) I have this day served the defendant                                                                   te -it      by leaVing a
▪ copy of thg action and summons at his most notorious place of abode in this County.
               .,.,
 o Delivered same into hands of                                                                                described as follows:
     age, abouV:,     years; weight         pounds; height, about           feet and           inches, domicilediat the residence of
     defendant. ,
 z            if
.0
▪,. ,
 gv Served the defendant tinc
                             -
                                   -I r (4)
                                 , _
                                              LAA     I) I,P
                                                          4, r-.1 Ir       (C.}/r).                      .k           a 'corporation
 S.) by leaving a copy of the within action and summons with        / • A A t e,, 10/...„1 1, e., , 7 K 11 I
1
0 in charge of the office and place of doing business of said Col-pbfafron in die Cininty:—

 ,
 7>   Ihave this day served the above styled affidavit and summons on the defendant(s) by posting a copy of the same to the

 • door of the premises designated in said affidavit, and on the same day of such posting by depositing,a true copy of the
 oei 0
 • same in the United States Mail, first class in an envelope property address to the defendant(s) at the 'address shown in said
 • summons, with adequate postage affixed thereon containing notice to the defendant(s) to answer said summons at the
 • place stated in the summons.

 co
    Diligent search made and defendant
 l'Lf
 z0
 o not to be found in the jurisdiction of this court.


        This   7     day of
                                  1 '
                                        f             ,20 1-


                                                                                                                             .-DeOty
Case 4:21-cv-00178-WMR Document 1-1 Filed 09/15/21 Page 3 of 18
                                                                                             EFILED IN OFFICE
             SUPERIOR COURT OF CATOOSA COUNTY CLERK OF SUPERIOR COURT
                                              CATOOSA COUNTY, GEORGIA
                     STATE OF GEORGIA        SUM/2021000711
                                                                                         AUG 09, 2021 03:21 PM

                                                                                                                       __—
                                                                                                    Tracy Brown, Clerk
                                                                                                    Catoosa County, Georgia




                     CIVIL ACTION NUMBER SUCV2021000711
  Morris, Simla

  PLAINTIFF
                                             VS.
  Costco Wholesale Corporation
  Costco Wholesale, DBA c/o Manager

  DEFENDANTS


                             SUMMONS
  TO: COSTCO WHOLESALE CORPORATION

  You are hereby summoned and required to file with the Clerk of said court and serve upon the
  Plaintiffs attorney, whose name and address is:

                            Mark Warren
                            Warren & Griffin, P.C.
                            736 Georgia Avenue, Suite 100
                            Chattanooga, Tennessee 37402

  an answer to the complaint which is herewith served upon you, within 30 days after service of
  this summons upon you, exclusive of the day of service. If you fail to do so,judgment by
  default will be taken against you for the relief demanded in the complaint.

  This 9th day of August, 2021.
                                                   Clerk of Superior Court




                                                                Tracy Brown, Clerk
                                                                Catoosa County, Georgia




                                                                                      Page 1 of 1
        Case 4:21-cv-00178-WMR Document 1-1 Filed 09/15/21 Page 4 of 18
                                                                                           EFILED IN OFFICE
                                                                                     CLERK OF SUPERIOR COURT
                                                                                     CATOOSA COUNTY, GEORGIA
                                                                                   SUCV2021000711
        IN THE SUPERIOR COURT OF CATOOSA COUNTY,GEORGIA
                                                      AUG 09, 2021 03:21 PM
 SHANA MORRIS,
                                                                                                Tracy Brown, Clerk
                                                                                                Catoosa County, Georgia
         Plaintiff,                                          NO:
 VS.
                                                             DIVISION
 COSTCO WHOLESALE CORPORATION
 AND COSTCO WHOLESALE,                                       JURY DEMANDED

         Defendants.


                                          COMPLAINT

       The Plaintiff, Shana Morris, hereby files her Complaint against Costco Wholesale

Corporation and Costco Wholesale and shows the Court the following:

        1. The Plaintiff is a resident and citizen of Catoosa County, Ringgold, Georgia.

       2. The defendant, Costco Wholesale Corporation, is a licensed corporation authorized to

do business in the state of Georgia, and may be served with process through its registered agent:

CT Corporation System,289 S. Culver Street, Lawrenceville, GA 30046.

       3. The defendant, Costco Wholesale, is a store licensed to do business in the state of

Georgia and can be served through its manager at 100 Cobb Parkway, Ringgold, GA 30736.

       4. On or about December 21,2019,the plaintiff was on the premises owned,operated and

maintained by the defendants.

       5. While on the defendants' premises, the Plaintiff was hit in the head by a bathroom door

stall, when an employee of the defendant abruptly slammed the door open. The lock on the stall

door was defective and not operational.

       6. The defendants knew or should have known about this dangerous condition and took

no steps to fix the lock or use caution when opening the stall door.

       7. As a proximate cause of defendants' negligence, plaintiff sustained personal injuries,

including, but not limited to, medical charges, pain, suffering, and loss of enjoyment of life and
       Case 4:21-cv-00178-WMR Document 1-1 Filed 09/15/21 Page 5 of 18




other damages.

      WHEREFORE,Plaintiffs pray as:follows:

     (1) That summons and process issue and be served in the time and manner prescribed by

Georgia law;

     (2)That a.jury of twelve be empaneled to hear this cause;

     (3)That Plaintiff be awarded damages in the amount of$100,000.00; and

     (4) Any 'and all other general and equitable relief the Court may deem just.


                                          Respectfully su




                                          BY:
                                                C. Mark Warren (Bar/1738210)
                                                 Attorneys for Plaintiffs
                                                Suite 100, Dome Building
                                                736 Georgia.Avenue
                                                Chattanooga,-TN 37402-
                                                (423)265-4878
       Case 4:21-cv-00178-WMR Document 1-1 Filed 09/15/21 Page 6 of 18
                                                                  d EFILED IN OFFICE
                                                                                     CLERK OF SUPERIOR COURT
                                                                                     CATOOSA COUNTY, GEORGIA
                                                                                   SUCV2021000711
                                                                                             2021 03:21 PM
           IN THE SUPERIOR COURT OF CATOOSA COUNTY,GEORGIAAUG 09,

 SHANA MORRIS,                )                                                                Tracy Brown, Clerk
                                                                                               Catoosa County, Georgia

                              )
      Plaintiff,              )                             NO:
 vs.                          )
                              )                             DIVISION
 COSTCO WHOLESALE CORPORATION )
 AND COSTCO WHOLESALE,        )                            JURY DEMANDED
                                               )
        Defendants.                            )
PLAINTIFF'S, FIRST SET OFINTERROGATORIES PROPOUNDED TO DEFENDANT

       The Plaintiff, Shana Morris, pursuant to the Official Code of Georgia, hereby submits her

First Set of Interrogatories to the Defendants, Costco Wholesale Corporation and Costco

Wholesale, and requests that the Defendants respond to these Interrogatories in the time and

manner prescribed by Georgia law.

        1. Please state the name, address and job title of the person answering these
interrogatories on behalf of the defendant and their relationship to the defendant.

ANSWER:




      2. Did you receive notice of this accident from plaintiff; and if so, please state:

             (a) The date, time and place you received the notice; and

            (b) Whether the notice was written, or oral, and, if written, the
             name and address of the person who has custody of it.

ANSWER:
        Case 4:21-cv-00178-WMR Document 1-1 Filed 09/15/21 Page 7 of 18




        3. What is the name and address of each person or entity who, on 12/21/2019 was owner
of the business known as Costco Wholesale at 100 Cobb Parkway, Ringgold, GA 30736?

ANSWER:




        4. What is the name and address of each person who, on 12/21/2019 was owner of the
real property located at 100 Cobb Parkway, Ringgold, GA 30736?

ANSWER:




       5. Were the premises on which the business known as Costco Wholesale carried on
subject to any lease on 12/21/2019? If so, state the name and address of the leaser?

ANSWER:




       6. Was any person responsible for supervising the area in which plaintiff was injured at
the time ofthe accident; and if so, please state:

           - (a)     His name and address;

             (b)     His job title;

             (c)     A description of his duties; and

             (d)     His location at the time of the accident.

ANSWER:
        Case 4:21-cv-00178-WMR Document 1-1 Filed 09/15/21 Page 8 of 18




        7. Was there a sales clerk, or other person, on duty in the area where plaintiff was injured
at the time ofthe accident; and if so, please state for each person:

              (a)      His name and address;

              (b)     His job title;

             (c)      A description of his duties; and

             (d)      His location at the time of the accident.
ANSWER:




        8. Were there any other employees on the premises at the time of the accident; and if so,
please state:

              (a)     His name and address;

             (b)      His job title;

             (c)      A description of his duties; and

             (d)      His location at the time of the accident.

ANSWER:




       9. Did you, or any employee,receive any complaint, warning, or other notice, concerning
a dangerous or defective condition on the premises prior to the accident; and if so, for each
complaint, warning, or other notice, please state:

             (a) The date and time it was received;

             (b) Whether it was written, or oral, and if oral, the substance of it;

             (c) The name,or other means ofidentification, and address ofthe person by whom
              it was given;
        Case 4:21-cv-00178-WMR Document 1-1 Filed 09/15/21 Page 9 of 18




              (d) The name, address and job title of the person who received it;

              (e) The nature and location ofthe danger, or defect, to which it related; and

              (f) Whether any action was taken as a result of it, and, if so, a description of the
               action, and the time at which it was taken.

ANSWER:




        10. Was an inspection made prior to the accident to determine whether the area where
plaintiff was injured was in a state condition for use by customers; and if so, please state:

             (a) The frequency ofsuch inspections;

             (b) The date and time of the last inspection prior tothe accident;

             (c) The name, address and job title ofthe person who made the last inspection;

             (d) A description of, or the substance of, the findings that were made of the last
              inspection; and

             (e) Whether any instructions were given as a result of
              the last inspection to remove, clean or alter anything in
              the area of the accident, and, if so, a description of
              the instructions;and the name of each person to whom
              such instructions were given.

ANSWER:




       1 1. Was any warning given to plaintiff or any other person concerning any danger in the
area where the accident occurred?

ANSWER:
       Case 4:21-cv-00178-WMR Document 1-1 Filed 09/15/21 Page 10 of 18




        12. What is the name,address and job title ofthe person in charge ofthe janitorial services
at the premises at the time ofthe accident?

ANSWER:




      13. Has any other accident occurred on your premises in the same area as, or in a similar
manner to, the accident in which plaintiff was injured; and if so, please state:

             (a) The date and time it occurred;

             (b) A description of how it occurred;

             (c) The name, or other means ofidentification, and address ofthe person to whom
              it occurred;

             (d) The location in which it occurred;

             (e) Whether any safety precaution was taken as a result of it, and if so, a
              description of such safety precaution; and

             (f) Was suit filed as a result of any or all of these other incidents; and if so, please
              state the style of each case, the docket number and the court where each case was
             filed.

ANSWER:




      14. Was an investigation made by you, or on your behalf, as a result of the accident? If
made by another, please state their contact information.

ANSWER:
       Case 4:21-cv-00178-WMR Document 1-1 Filed 09/15/21 Page 11 of 18




      15. Did .you, or any employee, make a report of the accident; and if so, please state the
name of the person making the report.

ANSWER:




       16. Do you contend that plaintiff was not authorized to be on that part of the premises
where the accident occurred?

ANSWER:




       17. Do you have, or know of the existence of, any photographs, or diagrams relating to
any matter concerning the accident?

ANSWER:




      18. Did any person witness the accident? Please state the name, address, telephone
number and employer ofall witnesses.that you know who witnesses this accident or who may have
knowledge of any pertinent knowledge concerning this accident.

ANSWER:
       Case 4:21-cv-00178-WMR Document 1-1 Filed 09/15/21 Page 12 of 18




                                                 RWAESRPEECNTF4&UG
                                                                 LRIYFSUBMIIT ED;
                                                 BY:.
                                                    C. Mark Warren, 0—#: 0.13992
                                                .Attorney for Plaintiff
                                                 736 Georgia Avenue - Spite WO.
                                                 Chattanooga, Tennessee 37402
                                                (423)265-4878'




                                CERTIFICATE OF SERVICE


       The undersigned hereby certifies that a true and exact copy.of the foregoing.pleading has
been spzçd on all .parties at intere in this cause thirough the United States Postal Service On this
the            day of                             r                         ,20



                                  Costco Wholesale Corporation
                                   c/o CT Corporation System
                                       289 S. Culver Street
                                    Lawrenceville, GA 30046

                                       CoStco Wholesale
                                         do Manager
                                       100 Cobb Parkway
                                      Ringgold, GA 30736




                                                         C. Mark Warren
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STATE OF GEORGIA

COUNTY OF CATOOSA:

                                                    , being duly sworn according to law, makes
oath that the statements contained in the foregoing interrogatories are true to the best of his/her
knowledge, information and belief.




                                                     Representative of Costco


       Sworn to and subscribed before me this                day of                 ,20     .



NOTARY PUBLIC

My Commission Expires:
        Case 4:21-cv-00178-WMR Document 1-1 Filed 09/15/21 Page 14 of 18
                                                                                           EFILED IN OFFICE
                                                                                       CLERK OF SUPERIOR COURT
                                                                                       CATOOSA COUNTY, GEORGIA
                                                                                     SUCV2021000711
                                                                                                        03:21 PM
            IN THE SUPERIOR COURT OF CATOOSA COUNTY,GEORGIAAUG 09, 2021

 SHANA MORRIS,                                                                                    Tracy Brown, Clerk
                                                                                                  Catoosa County, Georgia



         Plaintiff,                                          NO:
 VS.
                                                             DIVISION
 COSTCO WHOLESALE CORPORATION
 AND COSTCO WHOLESALE,                                       JURY DEMANDED

         Defendants.


  PLAINTIFF'S REQUEST FOR PRODUCTION OF DOCUMENTS TO DEFENDANT

       The Plaintiff, Shana Morris, pursuant to the Official Code of Georgia, hereby submits her

Request for Production of Documents to the Defendants, Costco Wholesale Corporation and

Costco Wholesale, and requests that the Defendants respond to these requests in the time and

manner prescribed by Georgia law.

        I. Any statement or memorandum ofany statement made by the plaintiffto the defendant
or to the defendant's agents, representatives or attorneys, whether said statement was oral, written,
or recorded.

       ANSWER:




        2. Any photograph, video tape, drawing, rendering or other visual / audio recording made
of the scene ofthe incident prior to or subsequent to the incident.

       ANSWER:




       3. Please produce any written procedures the defendant follows to inspect, repair, clean,
sweep, wash, wax, etc., ofthe store.

       ANSWER:
        Case 4:21-cv-00178-WMR Document 1-1 Filed 09/15/21 Page 15 of 18




        4. Please produce any drawings, diagrams, maps or other similar documents which depict
the store layout, shelving, counters, or other physical items that appear on the floor.

        ANSWER:




       5. Please produce any discoverable documents upon which you rely or consulted in
responding to plaintiffs interrogatories.



       ANSWER:



       6. Produce any and all surveillance materials including video tapes, photographs, film,
tape recordings or other audio and/or visual materials which depict the plaintiff, the plaintiffs
residence, or any other place where she may be found.

ANSWER:




        7. Produce a copy of any medical records or bills you may have in your possession which
relate to treatment received by the Plaintiff, whether related to the subject accident or any other
treatment.

ANSWER:




       8. Produce copies of any correspondence made between the defendants and the Plaintiff.

ANSWER:




       9. Produce copies ofany notes which any adjuster, investigator or other such person made
regarding any conversation with the plaintiff.
       Case 4:21-cv-00178-WMR Document 1-1 Filed 09/15/21 Page 16 of 18




ANSWER:




        10. Producecopies daily incident reports of other accidents which occurred for the.three
years preceding Plaintiffs accident or.any subsequent accidents.

ANSWER:




        11.. if you believe any document requested in this.request for production of documents is
not discoverable, please identify the document, provide the identity ofthe custodian, the location
of the document and the reason it is not discoverable:

       ANSWER:


                                               RESPECTFULLY SUBMI_

                                                WARREN & GRIF



                                               BY:
                                                  C. Mark Warren BRIM .013992
                                               Attorney for Plaintiff
                                               736 Georgia Avenue - Suite 100
                                               Chattanooga, Tennessee. 37402
                                              (423)265-4878
       Case 4:21-cv-00178-WMR Document 1-1 Filed 09/15/21 Page 17 of 18




                               CERTIFICATE OF SERVICE

       The undersigned hereby certifies that a true and exact copy ofthe:pleading has:been served
upon counsel for all:parties at interest in this case through the United :States Postal Service,

       This the      day of                 ,20    .

                                Costco Wholesale Corporation.
                                 do CT Corporation System
                                    289 S. Culver Street
                                  Lawrenceville, GA 30046

                                      Costco Wholesale
                                        c/o Manager
                                      100 Cobb Parkway
                                     Ringgold, GA 30736



                                                              C. Mark Warren
       Case 4:21-cv-00178-WMR Document 1-1 Filed 09/15/21 Page 18 of 18
                                                                                        EFILED IN OFFICE
                                                                                   CLERK OF SUPERIOR COURT
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                                                                                 SUCV2021000711
                                                                                             202103:21 PM
              IN THE SUPERIOR COURT OF CATOOSA COUNTY,GEORGIPG 09,

                                                                                              Tracy Brown, Clerk
 SHANA MORRIS,                                                                                Catoosa County, Georgia



        Plaintiff,


 COSTCO WHOLESALE CORPORATION
 AND COSTCO WHOLESALE,

        Defendants.


              CERTIFICATE OF SERVICE OF DISCOVERY PURSUANT TO
                       'UNIFORM STATE COURT RULE 5.2

       Comes the plaintiff and files this certific.ate of service pursuant to Uniform State Court.

Rule 5.2 showing:the Court as follows:

       1) PLAINTIFF'S FIRST SET'OFINTERROGATORIES TO DEFENDANTS;and

       2) PLAINTIFF'S REQUESTS FOR PRODCU.CTION OF DOCUMENTS. TO
          DEFENDANTS.

               Were served•upon Defendants through appropriate sheriff:

                               Costco Wholesale Corporation
                                do CT Corporation System
                                   289 S. Culver Street
                              - Lawrenceville, GA 30046

                                      Costco Wholesale
                                     • do Manager
                                      100 Cobb Parkway
                                     Ringgold,.GA 30716

       This      day of AlAilfE"     2021.

                                                   WARREN & GRIF



                                                   By:
                                                           C.
                                                           GA Bar No. 738210'
